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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

PAIGE CARTER, Special Administrator of
the ESTATE OF KEVEIN C. CARTER,
Deceased,
                                                    Case No: 8:23-cv-485
              Plaintiff,

v.

SCOTT FRAKES, Former Director of the
Nebraska Department of Correctional
Services, in his individual capacity;        DEFENDANTS SCOTT FRAKES
MICHELE WILHELM, Warden of Nebraska         AND MICHELE WILHELM’S BRIEF
State Penitentiary, in her individual         IN SUPPORT OF MOTION TO
capacity;                                             DISMISS
DR. HARBANS DEOL, Former Medical
Director for Nebraska Health Services, in
his individual capacity;
SHELBY BARRAGAN-LOPEZ, in her
individual capacity;
MICHAEL MCCANN, in his individual
capacity;
CHARICE TALLEY, in her individual
capacity;
JEFFERY REED, in his individual
capacity;
DOUGLAS HEMINGER, in his individual
capacity;
MATT HECKMAN, in his individual
capacity;
FRANKLIN HOWARD, in his individual
capacity;
KIM MCGILL, in her individual capacity;
and
JOHN/JANE DOES 1-6, all employees of
Nebraska State Penitentiary, in their
individual capacities,

              Defendants.



      Defendants Scott Frakes and Michelle Wilhelm, in their individual capacities

hereby submit this brief in support of their Motion to Dismiss.

                                INTRODUCTION

      On the face of the Complaint, Former Director Scott Frakes (“Frakes”) and


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Warden Michele Wilhelm (“Wilhelm”) simply took no action and did not have

sufficient knowledge of any activity that would allow plausible liability to lie against

them under 42 U.S.C. § 1983 and U.S. Const. amend. VIII. Frakes and Wilhelm had

no direct involvement in the decision to house Kevin Carter with Angelo Bol. Plaintiff

does not allege that they did. Frakes and Wilhelm were not aware of any pattern of

prison staff not following regulations regarding placement of inmates in double

bunking. 1 Plaintiff does not allege that they were aware of any pattern of staff not

following regulations, alleging only knowledge of “instance” of such behavior. No

pattern is alleged. While Plaintiff makes multiple allegations regarding the prior

criminal actions of Angelo Bol and Bol’s mental health, Plaintiff makes no allegation

that Frakes or Wilhelm had any knowledge, or reason to know, that Angelo Bol posed

any particular risk in double bunking or being bunked with Carter.           Plaintiff’s

Complaint simply does not allege any actions, or non-action, by Frakes or Wilhelm

that would allow Plaintiff to recover against them under 42 U.S.C. § 1983.

            BACKGROUND AND FIRST AMENDED COMPLAINT

      For the purposes of this Motion only, allegations from the First Amended

Complaint (“FAC”) are taken as true. Carter entered the custody of the Nebraska

Department of Correctional Services (“NDCS”) on December 18, 2019. Filing No. 19,

CM/ECF at 3, ¶ 25. Frakes and Wilhelm

      Frakes and Wilhelm were policy makers and supervisors for the Nebraska

State Penitentiary (“NSP”). Filing No. 19, CM/ECF at 7, ¶ 57. They failed to properly


1 Frakes and Wilhelm do not concede that any regulation was not followed.


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supervise and train NSP staff. Filing No. 19, CM/ECF at 7, ¶ 58. They were aware

of some situations in which incompatible inmates were double bunked that resulted

in violence against an inmate. Filing No. 19, CM/ECF at 7, ¶ 59. They were aware

that NSP staff double bunked incompatible inmates on certain “instances”. Id. They

were indifferent to NSP staff violating regulations and the potential threat to inmate

safety it created. Filing No. 19, CM/ECF at 8, ¶¶ 70-73. However, the Complaint

makes no allegation that Frakes or Wilhelm had any part in the decision to bunk Bol

with Carter or knew of any pattern or practice of NSP staff in disregarding

regulations on bunking inmates. Moser v. Frakes, et.al., No.8:18CV551 (D. Neb. July

17, 2029).

    STANDARD FOR A MOTION TO DISMISS FED.R.CIV PRO. 12(b)(6)

      A complaint must contain “a short and plain statement of the claim showing

that the pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). To satisfy this

requirement, a plaintiff must plead “enough facts to state a claim to relief that is

plausible on its face.” Corrado v. Life Inv’rs Ins. Co. of Am., 804 F.3d 915, 917 (8th

Cir. 2015) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007)). “A claim

has facial plausibility when the plaintiff pleads factual content that allows the court

to draw the reasonable inference that the defendant is liable for the misconduct

alleged.” Barton v. Taber, 820 F.3d 958, 964 (8th Cir. 2016) (quoting Ashcroft v. Iqbal,

556 U.S. 662, 678 (2009)). “Threadbare recitals of the elements of a cause of action,

supported by mere conclusory statements, do not suffice.” Zink v. Lombardi, 783 F.3d




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1089, 1098 (8th Cir. 2015) (quoting Iqbal, 556 U.S. at 678), cert. denied, 135 S. Ct.

2941 (2015).

        “The complaint’s factual allegations must be “sufficient to ‘raise a right to relief

above the speculative level.’” McDonough v. Anoka Cty., 799 F.3d 931, 946 (8th Cir.

2015) (quoting Twombly, 550 U.S. at 555). The Court must accept factual allegations

as true, but it is not required to accept any “legal conclusion couched as a factual

allegation.” Brown v. Green Tree Servicing LLC, 820 F.3d 371, 373 (8th Cir. 2016)

(quoting Iqbal, 556 U.S. at 678). Thus, “[a] pleading that offers ‘labels and

conclusions’ or ‘a formulaic recitation of the elements of a cause of action will not

do.’” Ash v. Anderson Merchandisers, LLC, 799 F.3d 957, 960 (Cir. 2015)

(quoting Iqbal, 556 U.S. at 678), cert. denied, 136 S. Ct. 804 (2016).

                                      ARGUMENT

   I.      Plaintiff fails to allege facts sufficient to demonstrate Frakes or
           Wilhelm were directly or personally involved in a constitutional
           violation.

        The Eighth Amendment to the United States Constitution proscribes the

infliction of “cruel and unusual punishments.” U.S. Const. amend. VIII. The Supreme

Court counsels that this amendment imposes upon prison officials the duty to

“provide humane conditions of confinement.” Farmer v. Brennan, 511 U.S. 825, 832

(1994). That duty “requires those officials to take reasonable measures to ‘protect

prisoners from violence at the hands of other prisoners.’” Jensen v. Clarke, 73 F.3d

808, 810 (8th Cir. 1996) (quoting Farmer, 511 U.S. at 833) (internal quotation marks

and citations omitted). However, “Prison officials do not commit a constitutional



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violation every time one prisoner attacks another.” Young v. Selk, 508 F.3d 868, 872

(8th Cir. 2007). “[N]ot . . . every injury suffered by one prisoner at the hands of

another . . . translates into constitutional liability for prison officials responsible for

a victim’s safety.” Farmer, 511 U.S. at 834.

      In order to state a claim pursuant to 42 U.S.C. § 1983, "a plaintiff must [allege]

(1) violation of a constitutional right, (2) committed by a state actor, (3) who acted

with the requisite culpability and causation to violate the constitutional right."

McDonald v. City of Saint Paul, 679 F.3d 698, 704 (8th Cir. 2012). As such, a plaintiff

must plead facts sufficient to demonstrate an individual defendant was directly and

personally involved in an alleged constitutional violation. Clemmons v. Armantrout,

477 F.3d 962, 967 (8th Cir. 2007).

      In order to maintain the 42 U.S.C. § 1983 claim against Frakes and Wilhelm,

Plaintiff must allege facts that each had direct or personal involvement in a

constitutional violation. The Complaint alleges Frakes and Wilhelm “were the

policymakers and final decision-makers for NSP” and “failed to properly supervise

and train” other Doe Defendants in double bunking. Filing No. 19, CM/ECF at 7, ¶¶

58. Plaintiff makes no allegations that Frakes or Wilhelm ordered, directed, or even

suggested that Carter and Bol be housed together. Thus, Frakes and Wilhelm’s

liability cannot be based upon direct participation of an alleged constitutional

violation.

      Further, to succeed in an Eighth Amendment failure-to-protect claim, inmates

must make two showings. First, they must demonstrate that they are “incarcerated



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under conditions posing a substantial risk of serious harm.” Jensen v. Clarke, 73 F.3d

808, 810 (8th Cir. 1996) (quoting Farmer, 511 U.S. at 834). The second requirement

concerns the state of mind of the prison official who is being sued. Id. It mandates

that the plaintiff’s show that the official “knows of and disregards an excessive risk

to inmate health or safety; the official must both be aware of facts from which the

inference could be drawn that a substantial risk of serious harm exists, and he must

also draw the inference.” Id. (quoting Farmer, 511 U.S. at 837).

       In this case, Plaintiff fails to allege facts to support the claim that Frakes or

Wilhelm knew of and disregarded an excessive risk to Carter’s safety. Specifically,

Plaintiff failed to allege Frakes or Wilhelm knew Carter and Bol were even housed

together. In the FAC, Plaintiff alleges that other Defendants were responsible for

making the decision to house Carter and Bol together. Filing No. 19, CM/ECF at 3, ¶

54. It follows that because neither Frakes nor Wilhelm were aware of the housing

placement, it would have been impossible for Frakes and Wilhelm to have known of

any substantial risk of serious harm to Carter.

      Even accepting all of Plaintiff’s factual allegations as true, Plaintiff failed to

allege direct and personal involvement of Frakes or Wilhelm in the decision to house

Carter and Bol together. Likewise, Plaintiff failed to allege facts suggesting Frakes

and Wilhelm were aware of a substantial risk of harm to Carter and disregarded that

risk. Accordingly, Plaintiff has failed to state a claim upon which relief can be granted

against Frakes and Wilhelm.




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   II.      Plaintiff fails to allege facts supporting the claim that Frakes and
            Wilhelm are liable for failure to train or supervise.

         Plaintiff’s Complaint references “instances” of NDCS violating regulations in

inmate placement. Plaintiff cites to a single incident. Filing No. 19, CM/ECF at 7,

¶59. However, the decision to place Carter and Bol together has nothing to do with

the training or supervision of employees who would make that decision. Plaintiff’s

Complaint sets forth that NDCS staff did perform the required evaluation. Filing No.

19, CM/ECF at 6, ¶ 53. Still, Plaintiff asserts that Frakes and Wilhelm are liable for

failure to train or supervise under § 1983. Filing No. 1, CM/ECF at 7, ¶¶ 58.

         “A supervisor may be held liable ‘if a failure to properly supervise and train

the offending employee caused a deprivation of constitutional rights.’” Perkins v.

Hastings, No. 17-2079, 2019 WL 469718, at *9 (8th Cir. Feb. 7, 2019) (quoting Tlamka

v. Serrell, 244 F.3d 628, 635 (8th Cir. 2001)). The plaintiff must show that the

supervisor “(1) had notice of a pattern of unconstitutional acts committed by

subordinates; (2) was deliberately indifferent to or tacitly authorized those acts; and

(3) failed to take sufficient remedial action; (4) proximately causing injury to [the

plaintiff].” Brewington v. Keener, 902 F.3d 796, 803 (8th Cir. 2018) (emphasis added)

(internal quotation marks omitted) (quoting Livers v. Schenck, 700 F.3d 340, 355 (8th

Cir. 2012)); Parrish v. Ball, 594 F.3d 993, 1002 (8th Cir. 2010).

         In this case, however, Plaintiff fails to allege Frakes or Wilhelm were aware of

any pattern of unconstitutional acts committed by subordinates or tacitly authorized

any such acts. Plaintiff alleges that Frakes and Wilhelm were supervisors and policy

makers and allege a single prior instance of alleged NDCS staff misconduct in failing

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to follow regulations. Filing No. 19, CM/ECF at 3, ¶¶ 59.

         Yet even accepting these factual allegations as true, nothing suggests Frakes

or Wilhelm received notice of a pattern that inmates were being housed together in a

manner which subjected them to a substantial risk of serious harm with respect to

housing protocol decisions. A single prior instance does not create a pattern. This, in

and of itself, does not constitute a constitutional violation. See Rhodes v. Chapman,

452 U.S. 337, 348 (1981). A pattern of unconstitutional behavior is created where the

activity is so pervasive and widespread as to have the effect and force of law.

Brewington, 902 F.3d at 801. In Brewington, the plaintiff was able to demonstrate

only two prior instances of misconduct by subordinates. Id. at 802. Nor was there

any evidence of action, whether direct or through policy decisions, of directing officers.

Id.     This, in the face of policies to the contrary, did not create a pattern of

unconstitutional behavior by subordinates that could have created a 1983 liability in

supervisors. Id. In the case at bar, Plaintiff alleges a single instance of prior possible

misconduct and actions in contravention of NDCS policies by failing to properly

evaluate Carter and Bol. Filing No. 19, CM/ECF at 7, ¶¶ 59. As such, the FAC fails

on the very first element of supervisory liability: the Complaint fails to allege a

pattern of unconstitutional acts committed by subordinates.

      III.   Plaintiff fails to allege facts supporting the claim that Frakes and
             Wilhelm knew of, but deliberately disregarded a substantial risk of
             harm to Kevin Carter.


         With respect to Frakes and Wilhelm, the FAC alleges that they were

deliberately indifferent to threats to inmate safety caused by assaults by other

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inmates. Filing No. 19, CM/ECF at 8, ¶¶ 72-73.       Plaintiff claims that Frakes and

Wilhelm knew of but were deliberately indifferent to a substantial risk of harm when

Carter and Bol were housed together. Generalized notice that prisons can be violent,

overcrowded, and understaffed does not constitute the specific notice required to state

a failure to protect claim pursuant to 42 U.S.C. § 1983. Plaintiff makes no allegation

that Frakes or Wilhelm knew any specific information about Carter or Bol, or the

decision to house them together.

      To prevail on a failure-to-protect claim, an inmate must make two showings:

“[1] an objective component, [that] there was a substantial risk of harm to the inmate,

and [2] a subjective component, [that] the prison official was deliberately indifferent

to that risk.” Patterson v. Kelley, 902 F.3d 845, 851 (8th Cir. 2018) (emphasis added).

As such, in order to state a claim in this case, Frakes and Wilhelm must have known

there was a “substantial risk of harm” to Carter by housing him with Bol yet

disregarded that particular risk. The Complaint makes no allegation that Frakes or

Wilhelm knew anything related to Carter or Bols, or to Carter and Bol’s placement

together before November 6. 2020.

      A.R. 210.01 details the process by which individuals in restrictive housing may

share a single cell. 2 Despite the fact that NDCS has this regulation, Plaintiff

somehow concludes that “Warden Wilhelm and Director Frakes where indifferent to




2 Importantly, the FAC does not allege that Carter or Bol were in restrictive housing.

Taken as true that A.R. 210.01 applies, it would constitute a higher level of
consideration in inmate housing decisions than would be required by the allegations
in the Complaint.

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said risk by failing to provide and ensure additional supervision over” NDCS staff.

Filing No. 1, CM/ECF at 4, ¶ 30. But the existence of A.R. 210.01(VIII) shows just

the opposite. If anything, the fact A.R. 210.01(VIII) was a department-wide policy

shows Frakes and Wilhelm were aware that a process was in place that accounted for

compatibility and safety when determining if two inmates could be housed together.

      Additionally, Plaintiff’s own allegations set forth that staff members did, in

fact, conduct a “compatibility assessment” as outlined in A.R. 210.01(VIII) for Carter

and Bol. See Filing No. 19, CM/ECF at 6, ¶¶ 51.

      [A] prison official's violation of an internal regulation does not give rise
      to an Eighth Amendment claim of ‘cruel and unusual punishment,’ in
      the absence of objective evidence demonstrating that prison officials
      were deliberately indifferent to a prisoner's constitutional rights, either
      because they actually intended to deprive him of some right, or because
      they acted with reckless disregard of his right to be free from violent
      attacks by fellow inmates.

Falls v. Nesbitt, 966 F.2d 375, 380 (8th Cir. 1992). The FAC makes bare allegations

that Frakes and Wilhelm were aware of and indifferent to NDCS staff not following

regulations and the risk that such actions created.        The FAC is devoid of any

allegation regarding actual knowledge, let alone intent, about the placement of

Carter with Bol. Without actual knowledge, or at least some knowledge of a pattern-

neither a pattern nor knowledge of a pattern of violations of constitutional rights is

alleged- Frakes and Wilhelm were not plausibly liable.

      In sum, Plaintiff has failed to allege any facts supporting the allegation that

Frakes and Wilhelm knew of, but were deliberately indifferent to a substantial risk

of serious harm to Carter arising from his placement with Bol.



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                               CONCLUSION

      For the foregoing reasons, the Court should dismiss the Complaint against

Former Director Scott Frakes and Warden Michele Wilhelm with prejudice.

      DATED this 22nd day of February 2024.

                                    MICHELE WILHELM and SCOTT
                                    FRAKES, each in his or her individual
                                    capacity, Defendants.

                              By:   MICHAEL T. HILGERS, #24483
                                    Nebraska Attorney General

                              By:   /s/ Joseph Messineo
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                        CERTIFICATE OF COMPLIANCE

      Pursuant to NECivR 7.1(d), the undersigned hereby certifies that the foregoing

principal brief contains 2918 words (including the caption, headings, footnotes, and

quotations) in compliance with said rule. The undersigned utilized the word count

function of Microsoft Word for Microsoft Office 365.

                                 By:    s/ Joseph Messineo
                                        Joseph Messineo, #21981
                                        Assistant Attorney General




                          CERTIFICATE OF SERVICE

      I hereby certify that on February 22, 2024, I electronically filed the foregoing

document with the Clerk of the United States District Court for the District of

Nebraska, causing notice of such filing to be served upon all parties registered on the

CM/ECF system as follows:

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